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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   VICTORIA DIVISION


 STATE OF TEXAS, et al.,

           Plaintiffs,

      v.                                                 Civil Action No. 6:23-cv-00013

 BUREAU OF ALCOHOL, TOBACCO,
 FIREARMS AND EXPLOSIVES, et al.,

           Defendants.



           DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION OF TIME
                  TO RESPOND TO PLAINTIFFS’ COMPLAINT

        Defendants respectfully move for an extension of time to file their response to Plaintiffs’

complaint, ECF No. 1, for which the current deadline is April 17, 2023. See Fed. R. Civ. P. 12(a)(2);

ECF No. 12. Defendants have conferred with Plaintiffs, and Plaintiffs do not oppose to this request.

        Plaintiffs commenced this action on February 9, 2023, challenging a rule promulgated by the

Bureau of Alcohol, Tobacco, Firearms and Explosives (“ATF”), Factoring Criteria for Firearms With

Attached “Stabilizing Braces,” 88 Fed. Reg. 6,478 (Jan. 31, 2023). ECF No. 1. On March 6, 2023, Plaintiffs

filed motion for preliminary injunction. See ECF No. 16. Defendants responded, ECF No. 22, and

Plaintiffs replied, ECF No. 29. Additionally, Plaintiffs filed a motion requesting that the Court rule on

their preliminary injunction motion before April 1, 2023. ECF No. 17. However, in light of a Northern

District of Texas ruling denying a preliminary injunction in a case challenging the same ATF Rule at

issue here, the Court ordered the Parties to submit supplemental briefing addressing how that decision

impacts the issues in the preliminary injunction motion in this case. ECF No. 26. The Court thus

denied Plaintiffs’ request for an April 1 ruling as moot, see March 31, 2023 Docket Entry, and Plaintiffs’

motion for preliminary injunction remains pending.
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        Accordingly, Defendants respectfully request that the Court extend their deadline to respond

to Plaintiffs’ complaint until 30 days after the Court issues a decision on Plaintiffs’ motion for

preliminary injunction. Good cause exists for this extension: permitting Defendants to incorporate

the Court’s ruling into its responsive pleading will promote efficient briefing of the issues in this case

and conserve the Court’s time and resources. Defendants appreciate the Court’s consideration.

Dated: April 14, 2023                           Respectfully submitted,

                                                BRIAN M. BOYNTON
                                                Principal Deputy Assistant Attorney General

                                                ALAMDAR S. HAMDANI
                                                United States Attorney

                                                BRIGHAM J. BOWEN
                                                Assistant Branch Director

                                                /s/ Taylor Pitz
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                                                Attorneys for Defendants




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                                   CERTIFICATE OF SERVICE

        On April 14, 2023, I electronically submitted the foregoing document with the Clerk of Court

for the U.S. District Court, Southern District of Texas, using the Court’s electronic case filing system.

I hereby certify that I have served all parties electronically or by another manner authorized by Federal

Rule of Civil Procedure 5(b)(2).


                                                        /s/Taylor Pitz
                                                        Trial Attorney
                                                        U.S. Department of Justice




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